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   7                     UNITED STATES DISTRICT COURT
   8              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9
  10    THE ADVANCED SURGICAL                       Case No. 8:20-cv-01594 CJC (KESx)
  11    INSTITUTE, LLC, a California                Hon. Cormac J. Carney
        limited liability company; and
  12    ANTHONY A. WU, M.D., an
  13    individual,
                      Plaintiffs,                   [PROPOSED] QUALIFIED HIPAA
  14    v.                                          PROTECTIVE ORDER
  15
        CIGNA HEALTH AND LIFE                       [DISCOVERY DOCUMENT:
  16    INSURANCE COMPANY, a                        REFERRED TO MAGISTRATE
  17    Connecticut Corporation DBA Cigna;          JUDGE KAREN E. SCOTT]
        CONNECTICUT GENERAL LIFE
  18    INSURANCE COMPANY, an
  19    operating subsidiary of Cigna
        Corporation; EMBASSY OF THE
  20    STATE OF KUWAIT, an entity
  21    representing the government of the
        State of Kuwait in the United States;
  22    KUWAIT CULTURAL OFFICE, a
  23    specialized agency of the government
        of the State of Kuwait; and DOES 1          Complaint Filed: March 3, 2020
  24    THROUGH 10 inclusive,
  25
                    Defendants.
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                                         [PROPOSED] QUALIFIED HIPAA PROTECTIVE ORDER
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   1         1.     In accordance with, and as defined by, the regulations promulgated
   2   under the Health Insurance Portability and Accountability Act (“HIPAA”),
   3   specifically 45 C.F.R. part 164.512(e)(1)(ii) and (v), the Court hereby enters a
   4   HIPAA Qualified Protective Order (QPO).
   5         2.     GOOD CAUSE STATEMENT: This matter involves medical
   6   service payment disputes. Discovery in this matter requires disclosure of
   7   sensitive patient information and medical records protected under HIPAA. To
   8   ensure safeguards for patients’ protected health information (“PHI”), the parties
   9   seek to enter in to this QPO to further protect patient medical records produced
  10   and medical information disclosed in this matter.
  11         3.     Pursuant to this QPO, all parties to this lawsuit are:
  12         a)     prohibited from using or disclosing any PHI produced or disclosed
  13   by a party in this case, for any purpose other than the litigation of the above-
  14   styled lawsuit; and
  15          b) required to destroy all copies of the PHI (including permanent deletion
  16   of electronically-stored copies of the PHI), or to return them to the disclosing
  17   entity at the conclusion of the above-styled lawsuit.
  18         4.     For purposes of this QPO, “conclusion” is understood to include the
  19   time for any records retention requirement and statute of limitations applicable to
  20   a party or a party’s counsel. “Litigation” is understood to include all appellate
  21   proceedings or the expiration of time to commence such appellate proceedings
  22   without appeal.
  23         5.     Pursuant to 45 C.F.R. part 164.512(e)(1)(i) and for purposes of
  24   HIPAA compliance, without waiver of any objection or privilege, the parties and
  25   their witnesses are expressly and specifically authorized to use or to disclose to
  26   the attorneys, agents, employees, and designees of each party or each party’s legal
  27   counsel in this case PHI pertaining to the medical service claims referenced in the
  28   complaint.
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                                            [PROPOSED] QUALIFIED HIPAA PROTECTIVE ORDER
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   1         6.     The authorizations and orders set forth herein expressly include PHI
   2   concerning psychological and mental health records, disability status and records,
   3   substance abuse and treatment history, and HIV status, as well as records
   4   concerning other sexually transmitted diseases if so requested.
   5         7.     Pursuant to 45 C.F.R. section 164.512(e)(1)(i) and for purposes of
   6   HIPAA compliance, without waiver of any objection or privilege, any person or
   7   entity authorized or ordered above to use or disclose PHI with, to, or before any
   8   court reporter service, videographer service, translation service, photocopy
   9   service, document management service, records management service, graphics
  10   service, or other such litigation service, designated by a party or a party’s legal
  11   counsel in this case. The protections and requirements of paragraph 2 of the QPO
  12   apply to such service providers. Each party or the party’s legal counsel is charged
  13   with obtaining advance consent of such service to comply with this paragraph.
  14   Upon such consent, the service provider will be deemed to have voluntarily
  15   submitted to this Court’s jurisdiction during the pendency of the above-styled
  16   matter for purposes of enforcement of this order.
  17         8.     Unless a motion for enforcement of the QPO has been filed in this
  18   case and remains pending at the time, the QPO shall expire upon the conclusion
  19   of the litigation as defined in paragraph 3.
  20         9.     This QPO is self-executing and effective upon entry.
  21         10.    A copy of this QPO shall be valid as an original.
  22
             IT IS SO ORDERED
  23
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  25   DATED: November 6, 2020                        ____________________________
  26                                                  Karen E. Scott
                                                      United States Magistrate Judge
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                                            [PROPOSED] QUALIFIED HIPAA PROTECTIVE ORDER
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                                       [PROPOSED] QUALIFIED HIPAA PROTECTIVE ORDER
